Case: 1:20-cr-00035 Document #: 1 Filed: 01/16/20 Page 1 of 11 PagelD #:1

FILEE

JAN 16 ona _ UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

_ __THOMASG BRUTON
CLERK, U.S. DISTRICT COURT EASTERN DIVISION

 

 

UNITED STATES OF AMERICA, )
)
» SOCR O35
v. ) 0.
)
WILMER ALEXANDER GARCIA MEZA, ) Violations: Title 18, United States
aka “Alejandro Garcia” and ) Code, Sections 287, 1028A, and
“Alex Garcia,” ) 1841
3 UDCE“BUCKTO
Defendant. ) MAGISTRATE JUDGE FUENTES
)
COUNT ONE
(Mail Fraud)

The Special January 2020 GRAND JU. RY charges:

1. At times material to this Indictment:

a. Defendant WILMER ALEXANDER GARCIA MEZA, aka “Alejandro
Garcia” and “Alex Garcia,” resided within the Northern District of Illinois, Eastern
Division.

b.. The Internal Revenue Service (RS) was an agency of the United States
Department of the Treasury responsible for administering the tax laws of the United
States. The Internal Revenue Code provided that individuals could file tax returns
to claim a refund by submitting an individual income tax return, including a Form
1040A, U.S. Individual Income Tax Return, or a Form 1040EZ, Income Tax Return

for Single and Joint Filers with No Dependents.
Case: 1:20-cr-00035 Document #: 1 Filed: 01/16/20 Page 2 of 11 PagelD #:2

Cc. An Individual Taxpayer Identification Number (ITIN) was a tax
processing number issued by the IRS. The IRS issued ITINs to individuals who were
required to have a United States taxpayer identification number but who did not
have, and were not eligible to obtain, a Social Security number.

d. A Form W-7, Application for IRS Individual Taxpayer Identification
Number, was an IRS form used to apply for or renew an IRS Individual Taxpayer
Identification Number (ITIN). Documentation to support identity and connection to
a foreign country must be submitted to the IRS with the Form W-7. Individuals
applying for an ITIN using a Form W-7 must submit original identification
documents, certified copies, or copies that have been notarized after the notary public
' reviewed the original documents.

e. Forms 1040A and Forms 1040EZ required an individual to provide on
the tax return the individual’s name, address, social security number or ITIN, taxable
income for the tax year, amount of federal income taxes withheld from the
individual’s wages during that year, and amount of tax due or refund claimed.

f. A Form W-2, Wage and Tax Statement, was a form employers used_to
report to the IRS annual payments made for an employee's services (wages) and the
amount of taxes withheld from the employee’s wages.

g. If a Form 1040A or Form 1040EZ claiming a refund did not include
- instructions to directly deposit the refund amount to a specific bank account, any

refund issued was sent to the name and address listed on the form by mail, via the

United States Postal Service.
Case: 1:20-cr-00035 Document #: 1 Filed: 01/16/20 Page 3 of 11 PagelD #:3

2. Beginning no later than in or about January 2018 and continuing
through at least in or about July 2017, in the Northern District of Illinois, Eastern
Division, and elsewhere,

WILMER ALEXANDER GARCIA MEZA,
defendant herein, devised, intended to devise, and participated in a scheme to
defraud and to obtain money and property from the IRS by means of materially false
and fraudulent representations as further described below.
The Scheme

3. . It was part of the scheme that defendant WILMER ALEXANDER

GARCIA MEZA and others obtained personal identifying information of various
‘individuals, including their names, dates of birth, and identification documents, such
as foreign passports or driver’s licenses.

4, It was further part of the scheme that defendant WILMER

_ ALEXANDER GARCIA MEZA obtained or caused to be obtained ITINs for various
individuals by, among other things, submitting or causing to be submitted to the IRS
Forms W-7 in the names of others.

6. It was further part of the scheme that defendant WILMER
ALEXANDER GARCIA MEZA purchased computer software and paper that allowed
him and others to create Forms W-2.

6. It was further part of the scheme that defendant WILMER
ALEXANDER GARCIA MEZA purchased computer software, commonly known as

TurboTax, which he used to prepare tax returns.
Case: 1:20-cr-00035 Document #: 1 Filed: 01/16/20 Page 4 of 11 PagelD #:4

7. It: was further part of the scheme that ‘defendant WILMER
ALEXANDER GARCIA MEZA used and caused to be used computer software to
prepare false’ Forms W-2, Form 1040A, and Forms 1040EZ.

8. It was further part of the scheme that defendant WILMER
ALEXANDER GARCIA MEZA used ITINs to file false paper Forms 1040A and Forms
1040EZ with the IRS. —

9. It was further part of the scheme that from no later than in or about
January 2013 to at least in or about July 2017, defendant WILMER ALEXANDER
GARCIA MEZA prepared and caused to be prepared, and presented. and caused to be
presented, to the IRS, materially false and fraudulent individual income tax returns
for tax years 2011 to 2016 to claim fraudulent income tax refunds to which the
defendant then and there knew the individual named in the tax return was not

entitled, including but not limited to the following individual income tax returns:

 

 

 

 

 

Date of. . Tax Tax Initials of Fraudulent Refund
eqs. Year Form Individual .
Filing Claimed
on Tax Return
2/16/2013 2012 | 1040A I.M.Z. $5,174
3/5/2013 | 2012 1040A J.N.M.C. $5,553
9/22/2014 2011 1040EZ D.-Y.V.A. $2,467
3/21/2015 2014 1040A AC. $3,691

 

 

 

 

 

 

 

10. It was further part of the scheme that defendant WILMER
ALEXANDER GARCIA MEZA prepared and caused to be prepared, and presented

and caused to be presented, to the IRS, materially false and fraudulent Forms 1040A
Case: 1:20-cr-00035 Document #: 1 Filed: 01/16/20 Page 5 of 11 PagelD #:5

and Forms 1040EZ that caused fraudulently claimed federal income tax refunds, in
the form of US. Treasury tax refund checks (“Treasury checks”), to be mailed to his
United States Post Office Boxes and to other mailing addresses to which the
defendant had access.

11. It was further part of the scheme that defendant WILMER-
ALEXANDER GARCIA MEZA and others cashed and caused to be cashed Treasury
checks, which were fraudulent federal income tax refunds, at stores located in the
Northern District of Illinois, Eastern Division, and elsewhere.

12. It was further part of the scheme that defendant WILMER
ALEXANDER GARCIA MEZA. used and caused to be used other individuals’
identification documents to cash Treasury checks issued in other individuals’ names.

13. It was. further part of the scheme that defendant WILMER
ALEXANDER GARCIA MEZA made misrepresentations to the owner of a certain
store regarding his authorization to cash Treasury checks in other individuals’
names.

The Use of the Mails

‘14. On or about January 22, 2015, in the Northern District of Ilinois,

_ Eastern Division, and elsewhere,

- WILMER ALEXANDER GARCIA MEZA,
defendant herein, for the purpose of executing the above-described scheme and
attempting to do so, knowingly caused to be delivered by mail, via the United States

Postal Service, according to the direction thereon, an envelope addressed to
Case: 1:20-cr-00035 Document #: 1 Filed: 01/16/20 Page 6 of 11 PagelD #:6

“DEPARTMENT OF THE TREASURY, INTERNAL REVENUE SERVICE CENTER,
FRESNO, CA 93888-0015,” which was postmarked in Carol Stream, Illinois, and
which contained a false 2012 Form 1040EZ that claimed a fictitious, false and
fraudulent refund in the amount of $2,519, in the name of an individual bearing the
initials “D.Y.V.A.” and that listed the return address for “D.Y.V.A.” as “P.O BOX
681431 SCHAUMBURG IL 60168.”

In violation of Title 18, United States Code, Section 1341.

COUNT TWO
(Mail Fraud)

The Special January 2020 GRAND JURY further charges:

15. Paragraphs 1 through 13 of Count One are incorporated here.

16. On or about February 21, 2015, in the Northern District of Illinois,
Eastern Division, and elsewhere,

WILMER ALEXANDER GARCIA MEZA,

defendant herein, for the purpose of executing the above-described scheme and
attempting to do so, knowingly caused the IRS to deliver by mail, via the United
States Postal Service, a fictitious, false and fraudulent tax refund in the form of a
Treasury check in the amount of $4,292, dated March 18, 2015, in the name of an
individual bearing the initials “R.L.M.C.” to “P.O BOX 53823 BUFFALO GROVE IL
60089.”

In violation of Title 18, United States Code, Section 1341.
Case: 1:20-cr-00035 Document #: 1 Filed: 01/16/20 Page 7 of 11 PagelD #:7

COUNT THREE
(Mail Fraud)

The Special January 2020 GRAND JURY further charges:

17. Paragraphs 1 through 13 of Count. One are incorporated here.

18. Onor about May 30, 2017, in the Northern District of Illinois, Eastern
Division, and elsewhere,

WILMER ALEXANDER GARCIA MEZA,

defendant herein, for the purpose of executing the above-described scheme and .
attempting to do so, knowingly caused to be delivered by mail, via the United States
Postal Service, according to the direction thereon, an envelope addressed to
“DEPARTMENT OF THE TREASURY, INTERNAL REVENUE SERVICE,
FRESNO, CA 93888-0015,” which was postmarked in Carol Stream, Illinois, and
which contained a false 2016 Form 1040A that claimed a fictitious, false and
fraudulent tax refund in the amount of $4,212, in the name of an individual bearing
the initials “I.A.C.,” and that listed the return address for “‘TA.C.” as “1419
MUIRFIELD AVE WAUKEGAN IL 60085.”

In violation of Title 18, United States. Code, Section 1341.
Case: 1:20-cr-00035 Document #: 1 Filed: 01/16/20 Page 8 of 11 PagelD #:8

COUNT FOUR
(Mail Fraud)

The Special January 2020 GRAND JURY further charges:

19. Paragraphs 1 through 13 of Count One are incorporated here.

20. ° On or about May 30, 2017, in the Northern District of Illinois, Eastern
Division, and elsewhere,

WILMER ALEXANDER GARCIA MEZA,

defendant herein, for the purpose of executing the above-described scheme and
attempting to do so, knowingly caused to be delivered by mail, via the United States
Postal Service, according to the direction thereon, an envelope addressed to
‘DEPARTMENT OF THE TREASURY, INTERNAL REVENUE SERVICE,
FRESNO, CA 93888-0015,” which was postmarked in Carol Stream, Illinois, and |
which contained a ‘false 2016 Form 1040A that claimed a fictitious, false and
fraudulent tax refund in the amount of $2,863, in the name of an individual bearing
the initials “I.M.Z.,” and that listed the return address for “I.M.Z.” as “1419
MUIRFIELD AVE WAUKEGAN TL 60085.”

In violation of Title 18, United States Code, Section 1341.
Case: 1:20-cr-00035 Document #: 1 Filed: 01/16/20 Page 9 of 11 PagelD #:9

COUNT FIVE
(Aggravated Identity Theft)

The Special J anuary 2020 GRAND JURY further charges:

21. Paragraphs 1 to 18 of Count One are incorporated here.

22. On or about January 22,.2015, within the Northern District of Illinois
and elsewhere, Defendant WILMER ALEXANDER GARCIA MEZA did knowingly
use the means of identification of an actual person, known to the grand jury as
“D.Y.V.A.,” namely that individual’s name, without lawful authority and without
D.Y.V.A.’s consent, to commit mail fraud, in violation of 18 U.S.C § 1841 (as charged
in Count One, paragraph 14).

In violation of Title 18, United States Code, Sections 1028A(a)(1) and (c)(5).

COUNT SIX
. (Aggravated Identity Theft)

The Special January 2020 GRAND JURY further charges:

23. Paragraphs 1 to 13 of Count One are incorporated here.

24. On or about February 21, 2015, within the Northern District of Illinois
and elsewhere, Defendant WILMER ALEXANDER GARCIA MEZA did knowingly
use the means of identification of an actual person, known to the grand jury as
RLM.C.,” namely that individual's name, without lawful authority and without
R.L.M.C.’s consent, to commit mail fraud, in violation of 18 U.S.C § 1341 (as charged
in Count Two, paragraph 16).

In violation of Title 18, United States Code, Sections 1028A(a)(1) and (c)(5).
Case: 1:20-cr-00035 Document #: 1 Filed: 01/16/20 Page 10 of 11 PagelD #:10

COUNTS SEVEN TO TWENTY
(False Claim for a Fraudulent Tax Refund)

The Special January 2020 GRAND JURY further charges:

25. The factual allegations contained in Paragraphs 1 to 13 of Count One
are incorporated here.

26. Onor about the following-dates, in the Northern District of Illinois and
elsewhere,

' WILMER ALEXANDER GARCIA MEZA,

defendant herein, made, presented, and caused to be presented to the IRS, claims
upon and against the IRS, in the form of income tax returns, claiming fictitious, false
and fraudulent income tax refunds, on or about the dates set forth below, in the
amounts set forth below, and in the names set forth below, each tax return

constituting a separate count:

 

 

 

 

 

 

 

 

 

Count | Date of | Tax | Tax Name or Initials Fraudulent
Filing | Year | Form | of Individualon | Refund Claimed
‘ Tax Return
7 1/24/2015 | 2012 | 1040EZ D.Y.V.A. $2,519
8 1/31/2015 | 2012 | 1040EZ L.R.C. $2,209
9 | 2/14/2015 | 2014 | 1040A INA. $5,535
10 2/15/2015 | 2014 1040A D.B.M. $3,162
11 2/21/2015 | 2014 1040A R.L.M.C. $4,222
12 2/21/2015 | 2014 | 1040A ' G.R.R. $4,210
13 1/23/2016 | 2015 1040A N.C.A.R. $4,294
14 2/20/2016 | 2015 1040A WILMER A $4,241
GARCIA-MEZA

 

 

 

 

 

 

 

 

10
Case: 1:20-cr-00035 Document #: 1 Filed: 01/16/20 Page 11 of 11 PagelID #:11 ©

 

 

 

 

 

 

15 | 2/21/2016 | 2015 | 1040A RLMC. $3,377
16 | 4/2/2016 | 2015 | 1040EZ DYVA. $1,518
17 | 1/23/2017| 2016 | 1040A LPP. $3,078
is | 1/24/2017| 2016 | 1040A EGH. | $4,260
19 | 6/2/2017 | 2016 | 1040A TAC. $4,212
20 | 6/2/2017 | 2016 | 1040A TMZ. $2,863

 

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Section 287.

A TRUE BILL:

 

FOREPERSON .

 

RICHARD E. ZUCKERMAN .
Principal Deputy Assistant Attorney General
Tax Division, Department of Justice

11
